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 AO 106 (Rev 01/09) Application for a Search Warrnnt



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                                                                                                         Western District or New York

  In the Matter ofthe Search or Information /\ssociated with Snapch<1 l Use ma me:
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  th,tt_pMkcrsfan
                                                                                                                                                            Case No. 20-!\1-134
  THAT lS STORED J\T PRJ:MISES OWNED, M/\INT/\JNED, CONTROLI.J•:D,                                                                                          {J"ikd Under Seal)
  OR OPERATED BY SNAP INC.


                                                                            APPLICATION FOR A SEARCH WARRANT
       I, a federal law enforcement officer or an attorney for the government, request a search warrant and state
under penalty of perjury that I have reason to believe that on the following person or property r,.i.,,111i rh,·0·,,.,,, ., ,... ;

  Sec Attadunent A, which is attached hereto and incorporated by reference herein,

located in the Central District of California, there is now concealed (11le111iJy 1he 1.-rsc,,, ord,·smf,,. rh,· l''"l'a11· 1,, 1,,. ,,.,:,·dJ:
  Sec Attacluncnt B, which is attached hereto and incorporated by reference herein.


The basis for search under Fed. R. Crim. P. 4l(c) is (check one or more):
       IZ! evidence of a crime;
       IZI contraband, fruits of crime, or other items illegally possessed;
       IZI property designed for use, intended for use, or used in committing a crime;
       D a person to be arrested or a person who is unlawf11Ily restrained.

The search is related to violations of 18 U.S.C. §§ 225I(a), 2252/\(a)(2)(A), 2252A(a)(5)(B), and 226J;\(2)(B).

The application is based on these facts:
      IZ! continued on the attached sheet.
      D Delayed notice of __ days (give exact ending date if more than 30 days:                 ) is
          requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.




                                                                                                                                      JAMES J. DONOGH
                                                                                                                                      SPECIAL AGENT
                                                                                                                                      HOMELAND SECURITY INVFSTlC:i,\'l'lO:\S
Sworn to telephonically.

Date:           September 11 2020                          I




                                                                                                                                      HONORABLE H. KENNFl'l 1 SCl lROFI WR, JR.
City and state: Buffalo, New York                                                                                                     UNITED STATES MJ\CJlSTR;\TL•: JUIK;1,:
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                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, James J. Donoghue, being first duly sworn, hereby depose and state as follows:


                     INTRODUCTION AND AGENT BACKGROUND

       1.       I make this affidavit in support of an application for a search warrant for

information associated with the Snapchat account identified by Snapchat username

“that_packersfan” (the “SUBJECT ACCOUNT”) that is stored at premises owned, maintained,

controlled, or operated by Snap Inc., a social networking company headquartered in Santa

Monica, California. The information to be searched is described in the following paragraphs and

in Attachment A. This affidavit is made in support of an application for a search warrant under

18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A) to require Snap Inc. to disclose to the

government records and other information in its possession pertaining to the SUBJECT

ACCOUNT.

       2.       I am a Special Agent (SA) of the United States Immigration and Customs

Enforcement (ICE) office of Homeland Security Investigations (HSI) within the Department of

Homeland Security (DHS). I have worked for HSI for 12 years. I am currently assigned to

Homeland Security Investigations (HSI) in Buffalo, New York. As an HSI Special Agent, I have

conducted complex criminal investigations related to immigration violations, human smuggling

and human trafficking, money laundering, and child exploitation. My current duties include the

enforcement of federal criminal statutes involving child exploitation laws. I also work closely

with other law enforcement officers who have engaged in numerous investigations involving

child exploitation and child pornography and who have received training in the area of child

pornography and child exploitation. I further state that I have training and experience as an HSI
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Computer Forensics Agent for 3 years and have knowledge of the computer application Snapchat

and how the application processes and saves information.

       3.       I am familiar with the information contained in this affidavit based upon the

investigation I have conducted and based on my conversations with other law enforcement

officers involved in this investigation, or who have engaged in numerous investigations

involving child exploitation.

       4.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, law enforcement officers, and

witnesses. This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

       5.       Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of 18 U.S.C. §§ 2251(a) [production and

attempted production of child pornography], 2252A(a)(2)(A) [distribution and receipt of child

pornography],    2252A(a)(5)(B)    [possession   of   child   pornography],   and     2261A(2)(B)

[cyberstalking] have been committed by Dyllan BARBER. There is also probable cause to

believe that evidence, fruits, and instrumentalities of violations of 18 U.S.C. §§ 2251(a),

2252A(a)(2)(A), 2252A(a)(5)(B), and 2261A(2)(B) may be located in the SUBJECT ACCOUNT

described in Attachment A.

                                     PROBABLE CAUSE

       6.       On March 11, 2020, Detective Matthew Finnerty of the Cattaraugus County

Sheriff’s Office conducted an extraction of a minor victim’s (V1’s) cell phone with the consent

of V1 and her father. V1’s date of birth is May 6, 2003. V1 lives in Cattaraugus, New York.


       7.       On April 8, 2020, Detective Heather Price of the Cattaraugus County

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Sheriff’s Office requested my assistance in reviewing the cell phone extraction data of V1’s cell

phone. While reviewing the extraction report, I observed several images which appear to be

screen captures from a Snapchat text conversation between V1 and Snapchat user “Barber (D).”

During this conversation, it appears that “Barber (D)” is threatening V1 to send nude pictures of

herself or else “Barber (D)” will publicly post other nude pictures he has of V1. For example,

“Barber (D)” informs V1 in the chat “U have till midnight to show me your tits pussy and ass or

I’m posting on everything about you too.” “Barber (D)” goes on to say, “Better be able to see

your face and use 2 fingers to masturbate,” and “Where’s the titties and ur face I didn’t say stop

Do u got something other then your fingers to use.” It appears from the conversation that V1

complied with “Barber (D)’s” request and sent him nude pictures of herself.


       8.       On April 16, 2020, Detective Price and I interviewed Dyllan BARBER at his

home in Little Valley, New York. BARBER’s date of birth is January 27, 2001. BARBER

signed a consent form to search his cell phone and allowed me to extract data from his cellphone

using forensic software.     BARBER waived his Miranda rights and agreed to speak with

Detective Price and myself. BARBER stated that the cellphone he is currently using is a new

phone. His old phone is broken and “somewhere in his bedroom.” BARBER has been using the

“new” phone since approximately December 2019.


       9.       BARBER stated that he knew V1 from school and that she dated his younger

brother at one time.       BARBER stated that his Snapchat and Instagram usernames are

“that_packersfan.”


       10.      Snapchat allows a user to give a nickname to the accounts they receive messages

from in order to easily identify who the users of those accounts are. This does not change the

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actual account name registered with Snapchat. As a result of my investigation, and as further

explained below, I have determined that V1 assigned the name “Barber (D)” to BARBER’s

“that_packersfan” Snapchat account.


       11.      During the interview with BARBER, Detective Price and I asked BARBER if he

had ever received a nude picture from V1. BARBER stated that he did receive one nude picture

from V1 approximately two years earlier (which would have been in approximately April 2018),

via Snapchat.


       12.      I asked BARBER about the text message conversation on V1’s phone in which

his Snapchat account, “that_packersfan,” threatened V1 to send nude pictures of herself.

BARBER was aware of the conversation.                He stated that his Snapchat account,

“that_packersfan,” had been “hacked,” and that the person who had gained access to his account

was responsible for threatening V1. BARBER said that he woke up one morning several months

ago and found that his Snapchat account had been logged off on his phone. (Snapchat accounts

can only be logged into on one device at a time). He stated that he tried to log into his account,

but he could not access it because his password had been changed. BARBER stated that at that

time, he sent a request to Snapchat informing it that his account had been hacked. BARBER

stated that he thinks the “hacker” was able to access his account because his account password

was easy to guess. He also stated that based on the time shown in the screen captures of the

threatening conversation, he could not have been a party to the conversation because he would

have been in bed already.


       13.      On May 20, 2020, HSI conducted a forensic interview of V1. The interviewer

showed V1 printed copies of the screen captures that were found on her phone depicting the

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threatening Snapchat conversation.     V1 stated that the screen captures depict a Snapchat

conversation she had with BARBER’s Snapchat account. V1 stated, “I think that Dyllan was

pretending to be someone he was not. He said he would post a nude picture of me on his

Snapchat if I didn’t send him another picture of me. I was scared. I told dad. He said if it ever

happens again, come to me.”


       14.     On July 1, 2020, Detective Price and I interviewed V1 and asked her if she knows

someone named Dyllan BARBER. V1 stated that BARBER is her ex-boyfriend’s brother. V1

stated that BARBER’s Snapchat username is “that_packersfan.” V1 stated that she sent nude

pictures of herself to BARBER during a Snapchat conversation in which she was threatened to

send nude pictures. When asked how many pictures she sent, she stated, “a lot.” When asked

why she believed the user of the account that threatened her was in possession of other nude

pictures of her, V1 said that she did not know how the user could have received other nude

pictures of her, she just believed him when he told her that he had them and would share them

with the public.


       15.     V1 further stated that she was on a phone call with BARBER during the

threatening Snapchat conversation. During the call, BARBER told V1 to “just take them,”

meaning take and send nude pictures of herself. BARBER further told V1 that he was concerned

that the hacker would also post nude pictures of BARBER. According to V1, BARBER did not

want V1 to talk to V1’s father about what had happened because he did not want to get into

trouble. V1’s father works in law enforcement.


       16.     Based on my review of the file creation dates of the screen capture images located

on V1’s cell phone and the phone call records between V1 and BARBER located on V1’s cell

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phone, the threatening Snapchat conversation appears to have taken place sometime in

November 2019. Specifically, the screen captures appear to have been taken between November

30, 2019 at 8:29:50 PM and December 1, 2019 at 10:02:08 AM. A total of nineteen screen

captures depict the conversation. The time on the phone can be seen within the screen captures,

giving a possible time that the screen captures were taken. The time frame for the screen

captures is between 8:20 and 11:01. It is not known if this is AM or PM, and a date is not visible

in the screen captures.


       17.     Phone records obtained from V1’s cell phone indicate that there are several

incoming and outgoing phone calls from November 27 through November 30, 2019 between V1

and a contact in her phone designated “Dyllan Barber” with phone number 716-801-3290.


                              BACKGROUND ON SNAPCHAT


       18.     Snapchat is a free-access social-networking application that can be accessed as a

mobile application on a cell phone or other electronic device capable of downloading the

social media application. Snapchat allows its users to create their own profile with a photo of

themselves, and other information. Snapchat is owned and maintained by Snap Inc., a company

headquartered in Santa Monica, California.

       19.     The users of Snapchat communicate with other Snapchat users by sending

photos or videos to one another. When an image or video (“snap”) is sent to another Snapchat

user, the person sending the image can set a timer on the image to determine when the image

will automatically delete after the receiving Snapchat user receives the image. In many cases,

the images will automatically delete in 10 seconds. The user sending an image can set the

automatic delete setting on the image from 1 second to 10 seconds, or the option to never

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delete once sent to the other Snapchat user.        Once an image automatically deletes, the

receiving user of the image will no longer be able to see or watch the sent image.

       20.     If a Snapchat user receiving an image wants to save the image sent to them, the

receiving user can quickly capture the image by saving the image once it is opened by the

receiving user on Snapchat. If a receiving user on Snapchat saves the image sent to them, the

sending user on Snapchat will receive a notification that the Snapchat user who received their

image took a screen capture or saved the image that was sent to them. However, this screen

capture auto notification can be bypassed if the receiving user takes a photo of their screen by

using a separate camera or other electronic device to capture the sent image.

       21.     Snapchat also allows users to add “filters” to photos taken within the Snapchat

application. This filter can add animal characteristics to the user who is taking a photo of

themselves or other people in the photo. The filters can also allow the user to take a video of

themselves with a voice changer. Other filters within Snapchat can add locations where the

images were taken based on the user’s physical location if GPS (Global Positioning System) is

activated on the Snapchat user’s device. This type of information is referred to by Snapchat

as Location Data and further described below.

       22.     Snapchat users can also post daily images taken within the Snapchat application

allowing the user to document their daily activity. These daily images are documented in the

Snapchat “Story.” Many users of Snapchat post daily consecutive images in an attempt to show

their daily usage of the Snapchat mobile application. These daily postings of images are often

referred to as “Streaks.”

       23.     Snaps are photos or videos taken using the Snapchat app’s camera on an

individual’s mobile device, and may be shared directly with the user’s friends, or in a Story

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(explained below) or Chat. Snapchat’s servers are designed to automatically delete a Snap after

it has been viewed by all intended recipients. Snapchat’s servers are designed to automatically

delete an unopened Snap sent directly to a recipient after 30 days and an unopened Snap in

Group Chat after 24 hours.

       24.     A user can add Snaps to their “Story.” A Story is a collection of Snaps displayed

in chronological order. Users can manage their privacy settings so that their Story can be viewed

by all Snapchatters, their friends, or a custom audience. A user can also submit their Snaps to a

crowd-sourced service, “Our Story,” which enables their Snaps to be viewed by all Snapchatters

in Search and Snap Map.

       25.     Snapchat’s servers are designed to automatically delete a Snap in a user’s Story

24 hours after the user posts the Snap, but the user may delete part or all of the Story earlier.

Submissions to “Our Story” may be saved for longer periods of time.

       26.     Users can save their sent or unsent Snaps, posted Stories, and photos and videos

from their phone’s photo gallery in “Memories.” Content saved in Memories is backed up by

Snapchat and may remain in Memories until deleted by the user. Users may encrypt their

content in Memories (called “My Eyes Only”), in which case the content is not accessible to

Snapchat and cannot be decrypted by Snapchat.

       27.     A user can type messages, send Snaps, audio notes, and video notes to friends

within the Snapchat app using the Chat feature. Snapchat’s servers are designed to automatically

delete one-to-one chats once the recipient has opened the message and both the sender and

recipient have left the chat screen, depending on the user’s chat settings.

       28.     Snapchat’s servers are designed to automatically delete unopened one-to-one

chats in 30 days. Users can also chat in groups. Chats sent in groups are deleted after 24 hours

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whether they are opened or not. A user can save a message in Chat by pressing and holding the

message. The user can unsave the message by pressing and holding it again. This will delete it

from Snapchat’s servers. Users can also delete chats that they have sent to a recipient before the

recipient has opened the chat or after the recipient has saved the chat.

       29.     If a user has device-level location services turned on and has opted into location

services on Snapchat, Snapchat will collect location data at various points during the user’s use

of Snapchat, and retention periods for location data vary depending on the purpose of the

collection. Users have some control over the deletion of their location data in the app settings.

       30.     Snapchat asks users to provide basic identity and contact information upon

registration and also allows users to provide additional identity information for their user

profile. This information may include the user’s full name, e-mail addresses, and phone

numbers, as well as potentially other personal information provided directly by the user to

Snapchat. Once an account is created, users may also adjust various privacy and account

settings for the account on Snapchat. These account settings can include limiting the Snapchat

application to access the cell phone’s camera, microphone, and/or lists of names and phone

numbers listed in the Contact List of the cell phone. This information regarding other Snapchat

users is collected and maintained by Snapchat.

       31.     Snapchat allows users to have “friends,” which are other individuals with whom

the user can share information without making the information public. Friends on Snapchat

may come from either contact lists maintained by the user, users inputted by the account

owner, other third-party social media websites and information, or searches conducted by the

user on Snapchat profiles. This information is collected and maintained by Snapchat.

       32.     Snapchat allows users to post and share various types of user content, including

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photos, videos, comments, and other information. User content that is posted within Snapchat

or shared through Snapchat is collected and maintained by Snapchat.

       33.     Users on Snapchat may also search Snapchat for other users by searching for a

specific user’s name known to the user or by scanning the other Snapchat users “Snapcode”

code. A Snapcode is similar to a QR Code, which is a type of unique image which identifies a

Snapchat user’s profile on Snapchat to one user. This allows users to share their identity with

other Snapchat users with a simple image, without sharing a username or any other personally

identifying information such as a phone number or an email address.

       34.     For each user, Snapchat also collects and retains information, called “log file”

information, every time a user requests access to Snapchat, whether to login to the application

or to logout of the application.    Among the log file information that Snapchat’s servers

automatically record is the particular Internet Protocol (“IP”) address associated with the

request. If the IP access is made with a cellular telephone, some information obtained by

Snapchat will capture the actual “IP6” (IP version6) data, which is capable of capturing the

information related to a specific mobile or electronic device, including dates and times of access

to the Snapchat account, and other information.

       35.     Snapchat users can also communicate privately with other Snapchat users, or

they can communicate within “groups” of other Snapchat users who all have the Snapchat

application on their electronic devices.      Users can share photos, videos, and personal

messages to one another within the application which cannot be viewed by other users within

the same application.

       36.     Snapchat also may communicate with the user. Snapchat collects and maintains

copies of communications between Snapchat and the user.

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       37.     Based on the information above, the computers of Snap Inc. are likely to

contain all the material described above with respect to the SUBJECT ACCOUNT, including

stored electronic communications and information concerning the subscriber and their use of

Snapchat, such as account access information, which would include information such as the

IP addresses and devices used to access the SUBJECT ACCOUNT, as well as other account

information that might be used to identify the actual user or users of the SUBJECT

ACCOUNT at particular times.

              INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       38.     I anticipate executing this warrant under the Electronic Communications Privacy

Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using the warrant

to require Snap Inc. to disclose to the government copies of the records and other information

(including the content of communications) particularly described in Section I of Attachment B.

Upon receipt of the information described in Section I of Attachment B, government-authorized

persons will review that information to locate the items described in Section II of Attachment B.

                                        CONCLUSION

       39.     Based upon the foregoing information, the undersigned respectfully submits that

there is probable cause to believe that evidence, fruits, and instrumentalities of violations of 18

U.S.C. §§ 2251(a), 2252A(a)(2)(A), 2252A(a)(5)(B), and 2261A(2)(B) may be located in the

SUBJECT ACCOUNT described in Attachment A.

       40.     Based upon the foregoing, I respectfully request that the Court issue the proposed

search warrant.

       41.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant. The government will execute this warrant

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                                     ATTACHMENT A
                                  Property to Be Searched


       This warrant applies to information associated with the Snapchat account identified by

Snapchat username “that_packersfan” (the “SUBJECT ACCOUNT”) that is stored at premises

owned, maintained, controlled, or operated by Snap Inc., a company located at 2772 Donald

Douglas Loop North, Santa Monica, CA 90405.
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                                       ATTACHMENT B

                                 Particular Things to be Seized

   I. Information to be disclosed by Snap Inc.

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Snap Inc., including any messages, records, files, logs, or information that

have been deleted but are still available to Snap Inc., or have been preserved pursuant to a

request made under 18 U.S.C. § 2703(f), Snap Inc. is required to disclose the following

information to the government for the SUBJECT ACCOUNT listed in Attachment A, regardless

of whether such information is located within or outside the United States, within 14 days of

service of this warrant:

       a.      All identity and contact information for the SUBJECT ACCOUNT, including

       full name, e-mail address, physical address (including city, state, and zip code), date of

       birth, gender, hometown, occupation, and other personal identifiers;

       b.      All past and current usernames, account passwords, and names associated with

       the SUBJECT ACCOUNT, including the dates on which such usernames, account

       passwords, and names were in usage;

       c.      All photographs and images in the user gallery for the SUBJECT ACCOUNT;

       d.      The dates and times at which the SUBJECT ACCOUNT and profile were

       created, and the Internet Protocol (“IP”) address at the time of sign-up, and any IP

       addresses associated with attempted logins;

       e.      For the time period April 1, 2018 through December 31, 2019, all IP logs and

       other documents showing the IP address, date, and time of each login to the

       SUBJECT ACCOUNT, as well as any other log file information;
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f.        For the time period April 1, 2018 through December 31, 2019, all information

regarding the particular device or devices used to login to or access the SUBJECT

ACCOUNT, including all device identifier information or cookie information,

including all information about the particular device or devices used to access the

SUBJECT ACCOUNT and the date and time of those accesses;

g.       All data and information associated with the profile page for the SUBJECT

ACCOUNT, including photographs, “bios,” and profile background and themes;

h.       For the time period April 1, 2018 through December 31, 2019, all

communications or other messages sent or received by the SUBJECT ACCOUNT;

i.        For the time period April 1, 2018 through December 31, 2019, all user content

created, uploaded, or shared by the SUBJECT ACCOUNT, including any comments

made by the SUBJECT ACCOUNT on photographs or other content;

j.       For the time period April 1, 2018 through December 31, 2019, all photographs

and videos that have been sent and/or received by the SUBJECT ACCOUNT;

k.       For the time period April 1, 2018 through December 31, 2019, all location data

associated with the SUBJECT ACCOUNT, including geotags and/or metadata

associated with the photos and/or videos that were sent/received, even if the metadata

was removed by Snap Inc. upon receipt of either the photos or videos;

l.       For the time period April 1, 2018 through December 31, 2019, all data and

information that has been deleted by the user(s) of the SUBJECT ACCOUNT;

m.       A list of all of the people that the SUBJECT ACCOUNT follows on Snapchat

and all people who are following the SUBJECT ACCOUNT (i.e., “friends” list and

“followers” list), as well as any friends of the SUBJECT ACCOUNT;

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       n.      A list of all users that the SUBJECT ACCOUNT has “unfollowed” or blocked;

       o.      All privacy and account settings;

       p.      For the time period April 1, 2018 through December 31, 2019, all records of

       Snapchat searches performed by the SUBJECT ACCOUNT, including all past searches

       saved by the SUBJECT ACCOUNT;

       q.      For the time period April 1, 2018 through December 31, 2019, all information

       about connections between the SUBJECT ACCOUNT and third-party websites and

       applications; and

       r.      For the time period April 1, 2018 through December 31, 2019, all records

       pertaining to communications between Snapchat and any person regarding the user or the

       user of the SUBJECT ACCOUNT, including contacts with support services, and all

       records of actions taken, including suspensions of the account.



   II. Information to be searched for and seized by the government

       All information described above in Section I that constitutes fruits, evidence and

instrumentalities of violations of 18 U.S.C. §§ 2251(a), 2252A(a)(2)(A), 2252A(a)(5)(B), and

2261A(2)(B), including, for the SUBJECT ACCOUNT identified in Attachment A, information

pertaining to the following matters:

       a.      All communications or other messages sent from or received by the SUBJECT

       ACCOUNT, including comments and direct messages, and all associated multimedia;

       b.      All content created, uploaded, received, or shared by the SUBJECT ACCOUNT,

       including all videos, images, and all associated metadata;

       c.      All photographs and images;

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d.     Evidence indicating how and when the SUBJECT ACCOUNT was accessed or

used, to determine the chronological and geographic context of account access, use, and

events relating to the crimes under investigation and to the account user;

e.     Evidence indicating the SUBJECT ACCOUNT user’s state of mind as it relates

to the crimes under investigation; and

f.     The identity of the person(s) who created or used the SUBJECT ACCOUNT.




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